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 5
     Attorney(s) for Social Positioning Input Systems, LLC
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 7
                      IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10    SOCIAL POSITIONING INPUT
      SYSTEMS, LLC,                                 CASE NO. 3:22-cv-00220
11
                          Plaintiff,                PATENT CASE
12

      v.                                            JURY TRIAL DEMANDED
13

14    LOCONAV, INC.,                                COMPLAINT
15                        Defendant.
16

17
             Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files
18
     this Complaint against LocoNav, Inc. (“Defendant” or “LocoNav”) for infringement
19
     of United States Patent No. 9,261,365 (hereinafter “the ‘365 Patent”).
20
                              PARTIES AND JURISDICTION
21
             1.    This is an action for patent infringement under Title 35 of the United
22
     States Code. Plaintiff is seeking injunctive relief as well as damages.
23
             2.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
24
     (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
25
     infringement arising under the United States patent statutes.
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             3.    Plaintiff is a Wyoming limited liability company with an address of 1
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     East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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 1          4.     On information and belief, Defendant is a Delaware corporation with its
 2   principal office located at 355 Bryant Street, Suite 403, San Francisco, CA, 94107.
 3   On information and belief, Defendant may be served through its agent, VCorp
 4   Services, LLC, at 1013 Centre Road Suite 403-B, Wilmington, DE, 19805.
 5          5.     On information and belief, this Court has personal jurisdiction over
 6   Defendant because Defendant has committed, and continues to commit, acts of
 7   infringement in this District, has conducted business in this District, and/or has
 8   engaged in continuous and systematic activities in this District.
 9          6.     On information and belief, Defendant’s instrumentalities that are alleged
10   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
11   in this District.
12                                           VENUE
13          7.     On information and belief, venue is proper in this District under 28
14   U.S.C. § 1400(b) because Defendant is deemed to reside in this District. Alternatively,
15   acts of infringement are occurring in this District and Defendant has a regular and
16   established place of business in this District.
17                                          COUNT I
18         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)
19          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
20          9.     This cause of action arises under the patent laws of the United States
21   and, in particular, under 35 U.S.C. §§ 271, et seq.
22          10.    Plaintiff is the owner by assignment of the ‘365 Patent with sole rights
23   to enforce the ‘365 Patent and sue infringers.
24          11.    A copy of the ‘365 Patent, titled “Device, System and Method for
25   Remotely Entering, Storing and Sharing Addresses for a Positional Information
26   Device,” is attached hereto as Exhibit A.
27          12.    The ‘365 Patent is valid, enforceable, and was duly issued in full
28   compliance with Title 35 of the United States Code.
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 1         13.    Upon information and belief, Defendant has infringed and continues to
 2   infringe one or more claims, including at least Claim 1, of the ‘365 Patent by making,
 3   using (at least by having its employees, or someone under Defendant's control, test
 4   the accused Product), importing, selling, and/or offering for sale associated hardware
 5   and software for asset locating services (e.g., LocoNav asset tracking platform, and
 6   any associated hardware, apps, or other software) (“Product”) covered by at least
 7   Claim 1 of the ‘365 Patent. Defendant has infringed and continues to infringe the ‘365
 8   patent either directly or through acts of contributory infringement or inducement in
 9   violation of 35 U.S.C. § 271.
10         14.    The Product provides an asset tracking system for real-time GPS
11   tracking of assets. A user can receive location information on a positional information
12   device (e.g., mobile device or computer). Certain aspects of this element are
13   illustrated in the screenshot(s) below and/or in those provided in connection with
14   other allegations herein.
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15         15.    The Product software sends a request from a first (requesting) positional
16   information device (e.g., mobile device or desktop with software installed) to a server.
17   The request is for the real-time location (e.g., stored address) of an asset, and includes
18   a first identifier of the requesting positional information device (e.g., user ID and
19   password for the Product software used in the particular enterprise). The request is
20   sent to the Product server for transmitting the asset location. The server receives the
21   at least one address from a second (sending) positional information device at the asset
22   (e.g., employee mobile phone). Certain aspects of this element are illustrated in the
23   screenshot(s) below and/or in those provided in connection with other allegations
24   herein.
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 1   16.     The at least one address is received from the server at the requesting positional
 2   information device. For example, the Product’s server transmits the position of an
 3   asset (at least one address) to the requesting positional information device. Certain
 4   aspects of this element are illustrated in the screenshot(s) below and/or in those
 5   provided in connection with other allegations herein.
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22           17.   A second identifier for the second (sending) positional information
23   device is determined based on the first identifier and the server retrieves the at least
24   one address stored in the at least one sending positional information device. The
25   Product application installed on the requesting positional information device requests
26   (from the server) the asset’s GPS location (i.e., at least one stored address stored). As
27   shown above, before activating the tracker (i.e., the sending positional information
28   device), a unique tracking device’s ID number or credentials (i.e., second identifier)
                                                6
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 1   needs to be added to the user’s account identified by the user login ID and password
 2   (i.e., the first identifier). Hence, the tracker device’s ID number or asset credentials
 3   (i.e., second identifier) is mapped to the user’s login ID (i.e., the first identifier) for
 4   tracking the real-time location (i.e., at least one stored address stored) of the asset.
 5   Certain aspects of this element are illustrated in the screenshot(s) below and/or in
 6   those provided in connection with other allegations herein.
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           18.   Defendant’s actions complained of herein will continue unless
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     Defendant is enjoined by this court.
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 1   19.     Defendant’s actions complained of herein are causing irreparable harm and
 2   monetary damage to Plaintiff and will continue to do so unless and until Defendant is
 3   enjoined and restrained by this Court.
 4           20.   Plaintiff is in compliance with 35 U.S.C. § 287.
 5                                       JURY DEMAND
 6           21.   Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
 7   respectfully requests a trial by jury on all issues so triable.
 8                                   PRAYER FOR RELIEF
 9           WHEREFORE, Plaintiff asks the Court to:
10           (a)   Enter judgment for Plaintiff on this Complaint on all causes of action
11   asserted herein;
12           (b)   Enter an Order enjoining Defendant, its agents, officers, servants,
13   employees, attorneys, and all persons in active concert or participation with Defendant
14   who receive notice of the order from further infringement of United States Patent No.
15   9,261,365 (or, in the alternative, awarding Plaintiff a running royalty from the time of
16   judgment going forward);
17           (c)   Award Plaintiff damages resulting from Defendant’s infringement in
18   accordance with 35 U.S.C. § 284;
19           (d)   Award Plaintiff pre-judgment and post-judgment interest and costs; and
20           (e)   Award Plaintiff such further relief to which the Court finds Plaintiff
21   entitled under law or equity.
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23   Dated: January 12, 2022                  Respectfully submitted,
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                                              /s/Stephen M. Lobbin
25                                            Attorney(s) for Plaintiff
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                                  COMPLAINT AGAINST LOCONAV, INC.
